     Case: 1:18-cv-04122 Document #: 69 Filed: 05/08/19 Page 1 of 1 PageID #:191

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Sam Crooms
                                       Plaintiff,
v.                                                       Case No.: 1:18−cv−04122
                                                         Honorable Gary Feinerman
Sheriff of Cook County, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 8, 2019:


       MINUTE entry before the Honorable Sheila M. Finnegan: Telephone conference
held on 5/8/2019 for discussion of settlement issues. Settlement conference is set for
6/10/2019 at 2:00 p.m. Plaintiff's counsel is to provide a settlement letter to defense
counsel by 5/20/2019. Defense counsel is to provide a responsive letter to plaintiff's
counsel by 6/3/2019. Each party is to provide its letter to Judge Finnegan (by e−mail to
Chambers_Finnegan@ilnd.uscourts.gov) on the same day that the letter is sent to
opposing counsel. Mailed notice(sxw, )




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